









Dismissed and Memorandum Opinion filed October 20, 2005









Dismissed and Memorandum Opinion filed October 20,
2005.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00950-CR

____________

&nbsp;

MARK ANTHONY PARMER,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
268th District Court

Fort Bend County,
Texas

Trial Court Cause No. 35,626

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a plea of guilty, appellant was convicted of the
offense of injury to a child and sentenced on July 29, 2002, to 30 years= imprisonment in the Texas Department
of Criminal Justice, Institutional Division.&nbsp;
No timely motion for new trial was filed.&nbsp; Appellant=s notice of appeal was not filed
until August 19, 2005.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of appeal which complies with the
requirements of Rule 26 is essential to vest the court of appeals with
jurisdiction.&nbsp; Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Memorandum
Opinion filed October 20, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore. 

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





